            Case 3:17-cr-07079-GPC Document 59 Filed 05/12/21 PageID.91 Page 1 of 2
AO 245D (CASO Rev. 1/19) Judgment in a Criminal Case for Revocations                                      FILED
                                    UNITED STATES DISTRIC
                                                                                                      K, U.S. DISTRICT COURT
                                                                                               SOUTHERN DISTRICT OF CALIFORNIA
             UNITED STATES OF AMERICA                                JUDGMEN 1-:.r:...;..;;.A:..C=RI~M=INc.:.:A;.:;L::;:...;::C;:.!..A;:,::SEP~UTY~
                                                                     (For Revocation of Probation or Supervised Release)
                                                                     (For Offenses Committed On or After November I, 1987)
                               V.
                   JOSE JUAN SOTO (I)
                        aka Chichi                                       Case Number:             3: 17-CR-07079-GPC

                                                                     Caitlin Elizabeth Howard
                                                                     Defendant's Attorney
REGISTRATION NO.               63267-050

•-
THE DEFENDANT:
IZI admitted guilt to violation ofallegation(s) No.        3

0    was found guilty in violation ofallegation(s) No.
                                                          ------------- after denial of guilty.
Accordin2Iy, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number                   Nature of Violation
            3                       Failure to participate in drug aftercare program




     Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of th is judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.

                                                                      Mav 12, 2021
                                                                      Date of Imposition of Sentence

                                                                               ~
                                                                               ~
                                                                      HON.GONZALOP.CiiRfL
                                                                                                         (£
                                                                      UNITED STATES DISTRICT JUDGE
           Case 3:17-cr-07079-GPC Document 59 Filed 05/12/21 PageID.92 Page 2 of 2
AO 245D (CASD Rev. 01/19) Judgment in a Criminal Case for Revocations

DEFENDANT:                JOSE JUAN SOTO (I)                                                       Judgment - Page 2 of 2
CASE NUMBER:              3: l 7-CR-07079-GPC

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 3 MONTHS




 •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 D     The court makes the following recommendations to the Bureau of Prisons:




 •     The defendant is remanded to the custody of the United States Marshal.

 •     The defendant shall surrender to the United States Marshal for this district:
       •     at                            A.M.               on
       •
                ---------
             as notified by the United States Marshal.
                                                                   -------------------
       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 •     Prisons:
       •     on or before
       •     as notified by the United States Marshal.
       •     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                            to

 at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                 UNITED STATES MARSHAL



                                    By                     DEPUTY UNITED STATES MARSHAL




                                                                                                 3:17-CR-07079-GPC
